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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 13CR4524-GPC-2

                      Plaintiff,
               vs.                         JUDGMENT OF DIS~SSAL
RUBEN BOTELLO (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

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 X__ an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__X
  _ _ of the offense(s) as charged in the Indictment/Information:

     21:841(a) (1); 18:2 - Possession of Cocaine with Intent to Distribute,
     Aiding and Abetting (Felony) (1)



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 09/17/2014
                                            Jan M
                                            U.S. Magistrate Judge
